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                                                 July 26, 2018



VIA ELECTRONIC FILING

The Honorable Robert D. Mariani
United States District Court
Middle District of Pennsylvania
235 N Washington Street
Scranton, PA 18501

       RE:    Branning v. Wayne County, et al.

Dear Judge Mariani:

       Kindly be advised that the parties have consummated settlement.

       Thank you for your assistance.

                                                 Very Truly Yours,

                                                 THE EMPLOYMENT LAW FIRM

                                                 s/ Cynthia L. Pollick
                                                 Cynthia L. Pollick, Esquire
CLP/lc
cc:    Dana M. Zlotucha, Esquire
       A. James Hailstone, Esquire
